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WESTERN DISTRICT OF TENNESSEE rn ii ,F §
WESTERN DIVISION y

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CIVIL CASE
v.

STEPHEN MITCHELL CASE NO: 03-2753~D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Denying Motion Under 28 U.S.C. § 2255 entered on March 28, 2005,
this cause is hereby dismissed.

APPROVED:

    

~ITED STATES DISTRICT COURT 4
§ 9 :2 § ~»-' ROBERT Fl. DITHOLIO
Date Clerk of Court

(By) Deputy ClerkU

 

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Honorable Bernice Donald
US DISTRICT COURT

